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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

 

KAVIN M. CARTER,
Plaintiff,
vs.

No. 04-2832-D/V

CITIFINANCIAL MORTGAGE CO.,
et al.,

Defendants.

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ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Kavin M. Carter, a resident of Memphis, filed
a pro §§ complaint on the form used for commencing actions pursuant
to 42 U.S.C. § 1983 on October 15, 2004, along with a nwtion
seeking leave to proceed in forma pauperis. The Court issued an

order‘ on, February 24, 2005 denying leave to proceed i forma

 

pauperis and directing the plaintiff to remit the $150 civil filing
fee within thirty days. Plaintiff paid the filing fee on March 24,

2005. The Clerk shall record the defendants as CitiFinancial

Mortgage Company, lnc. (“CitiFinancial”), Bankruptcy Trustee George
W. Emerson, Jr., Crye-Leike Property Management, lnc. (“Crye-
Leike”), and U.S. Bankruptcy Judge David S. Kennedy.

The factual allegations of the complaint consist, in

their entirety of the following:

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mm sale 55 and/or 79(@) FHCP en 5 * n "0

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Citifinancial Mortgage Company, through Atty Lisa
Sammonns of Wilson & Associates, conspired with trustee
George Emerson and Bankruptcy Judge David Kennedy in
denying me my constitutional right to a fair and
impartial hearing in having my day in court. They
foreclosed on my property on Oct 8, 2004 without due
process.

The prayer for relief states:

I would like the Court to issue a automatic stay to
stop foreclosure proceedings until a hearing is heard on
this matter. I also, in the future, would like the Court
to award punitive damages to sanction and punish
defendants to the full extent of the law. l would like my
property returned back to me.

An examination of the bankruptcy court docket indicates
that plaintiff has filed twelve bankruptcy petitions.1 On the basis
of the filing date of this case and the identity of the bankruptcy
judge and trustee, it would appear that this lawsuit pertains to
plaintiff's tenth Chapter 13 petition, Case No. 04~31227, which was
filed in the United, States Bankruptcy Court for the Western
District of Tennessee on July 21, 2004. On August 6, 2004,
CitiFinancial, through counsel, filed a motion entitled “Motion for
Relief from the Automatic Stay Provisions l__§§_ of the Bankruptcy
Code.” The motion provided, in pertinent part, as follows:

l. [CitiFinancial] is the holder of the deed of

trust and deed of trust note originally executed by

Kavin M. Carter on April 6, 2000, securing payment in the
principal sum of $72,000.00 to Franklin Mortgage Funding,

 

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The first ten cases filed by plaintiff are listed at p. 3, supra. The
remaining cases are: Case No. 04-34225 (Bankr. W.D. Tenn. filed Sept. 13, 2004)
(Chapter 13; voluntarily dismissed without prejudice Sept. 28, 2004); Case No.
04-38972 (Bankr. W.D. Tenn. filed Dec. 7, 2004) (Chapter 13; dismissed Mar. 24,
2005), on appeal, No. 05-2299-B/V (W.D. Tenn. filed Apr. 22, 2005).

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lnc. This deed Of trust covers the real property located
at 6894 Rockbrook Drive, Memphis, Tennessee 38106.

2. As set forth herein, the Debtor is
contractually due for the October 20, 2000 payment. The
last payment received from Debtor was on December 18,
2000. The Debtor has not yet filed a bankruptcy plan in
this matter. The case at bar is the Debtor's tenth (lOth)
filing. Debtor has failed to pay even one (1) dollar in
eight (8) of the ten (10) bankruptcy filings. Further,
Movant has never received a payment through any of the
bankruptcy cases.

3. The first (lst) case, Case Number 01-2?814 was
filed on May 29, 2001 and was dismissed on August 27,
2001 for failure to commence payments. A Motion to
Reinstate the case was denied on November 28, 2001. The
second (2nd) case, Case Number 01-36475 was filed on
October 25, 2001 and dismissed on January 3, 2002 for
failure to appear at the Meeting of Creditors. The third
(3rd) case, Case Number 02-20829 was filed on January 14,
2002 and dismissed March 22, 2002 for failure to appear
at the Meeting of Creditors. A foreclosure sale was then
set for July 19, 2002 and the fourth (4th) case, Case
Number 02-30068 was filed on June 19, 2002 and
voluntarily dismissed on August 20, 2002. A foreclosure
sale was then set for November 22, 2002 and the fifth
(Bth) case, Case Number 02-39416 was filed on November
18, 2002 and dismissed December 9, 2002 for failure to
satisfy the filing requirements. A foreclosure sale was
then set for March 28, 2003 and the sixth (6th) case,
Case Number 03-23286 was filed on February 27, 2003 and
was voluntarily dismissed on April 15, 2003. A
foreclosure sale was then set for June 6, 2003 and the
seventh (7th) case, Case Number 03-28?89 was filed on May
23, 2003 and dismissed on July 26, 2003 for failure to
satisfy the filing requirements. A foreclosure sale was
then set for January 23, 2004 and the eighth (Bth) case,
Case Number 04-21028 was filed on January 20, 2004 and
voluntarily dismissed March 15, 2004. A foreclosure sale
was then set for May 21, 2004 and the nineth [sic] (ch)
case, Case Number 04-27750 was filed on May 19, 2004 and
voluntarily dismissed July 7, 2004. A foreclosure sale
was then set for July 23, 2004 and the tenth (lOth) case
and current to bar, Case Number 04-3122?-DSK was filed on
July 21, 2004. These repetitive filings indicate that the
current case has been proposed in bad faith. Therefore,
Movant is not adequately protected.

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4. Movant is entitled to relief from the operation
of the automatic stay in rem pursuant to ll U.S.C. §
362(d) for the reason that the interest of Movant in the
property referred to above will not be adequately
protected if the stay is allowed to remain in full force
and effect, and the Debtor is unable to demonstrate any
reasonable likelihood that Debtor will be able to make
payments to Movant as required to keep the collateral
from deteriorating.

Orders were issued voluntarily dismissing the case on August 16 and
20, 2004. On August 19, 2004, CitiFinancial, through counsel, filed
a motion asking that
relief from the automatic stay in rem shall be
retroactive to the date of the original Order dismissing
the case, that any foreclosure proceedings taken against
the property since the date of the original Order
dismissing the case be deemed valid, that the Debtor be
sanctioned to the full extent permitted. by the law,
including Debtor being required to pay to Movant all of
Movant's attorneys fees, foreclosure fees and costs and
all other costs incurred by Movant in connection with the
Debtor's bankruptcy filings and default under the loan,
for its costs and attorney's fees herein, and all other
just and proper relief.
The docket sheet indicates that a hearing on CitiFinancial’s motion
was scheduled for 10:00 a.m. on September 30, 2004. The bankruptcy
judge issued an order on October 1, 2004 granting CitiFinancial’s
order. That order noted that “Movant has a foreclosure sale
currently scheduled for October 8, 2004 and has requested that any
foreclosure proceedings taken against the property since the date
of the original Order voluntarily dismissing this case be deemed

valid,” 10/01/04 Order at L 3, and that “Debtor was provided notice

of these proceedings and was afforded an opportunity to appear.

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Debtor did not appear,” id., I 4. Accordingly, the bankruptcy court
issued the following order:

IT lS THEREFORE ORDERED, ADJUDGED AND DECREED by the
Court that the Motion is hereby GRANTED and the Debtor,
and any other person or entity, is hereby prohibited for
a period of 180 days from August 16, 2004 from invoking
the protections of the automatic stay in any future
bankruptcy case under ll U.S.C. § 101 et; seg. as
amended, as to the Movant, its successors and assigns,
have fully exercised any non-bankruptcy remedies,
including foreclosure proceedings and any proceedings to
obtain possession of said property, regardless of any
change in circumstance. Any such bankruptcy shall be null
and void of no effect as to any non-bankruptcy remedy
being pursued by the Movant, its successors and assigns.

IT IS THEREFORE FURTHER ORDERED, ADJUDGED AND
DECREED by the Court that the foreclosure sale scheduled
for October 8, 2004, may be held as scheduled and that
any actions taken in connection with such foreclosure
proceedings since the date of the original Order
voluntarily dismissing this case are hereby validated.

IT IS THEREFORE FURTHER ORDERED, ADJUDGED AND
DECREED by the Court that in the event the Debtor files
a new bankruptcy case (or reopens any one of the closed
bankruptcy cases) prior to the Movant having completed
its foreclosure proceedings, Movant may complete its
foreclosure proceedings as scheduled; provided, however,
that it shall not record the deed transferring title to
the Property without first having obtained the permission
of the Court, by requesting an expedited hearing before
the Court to obtain such permission. Further, in the
event the Debtor files a new bankruptcy case (or reopens
any one of the closed bankruptcy cases) prior to the
Movant having taken possession of the property after
completing foreclosure proceedings, Movant may
immediately request an expedited hearing before the Court
to obtain permission to proceed with eviction.

lt appears that plaintiff attempted to file a motion on or about
November 17, 2004 to sanction CitiFinancial for violating 11 U.S.C.

§§ 362 and 301, but that filing was rejected because the case had

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been closed. The complaint, which was filed on October 15, 2004,
one week after the scheduled foreclosure sale, does not clearly
state whether that sale occurred.2

According to the Sixth Circuit, “a district court may not
sua sponte dismiss a complaint where the filing fee has been paid
unless the court gives the plaintiff the opportunity to amend the
complaint.” pple v. Glenn, 183 F.3d 477, 478 (6th Cir. 1999) (per
curiam); see also Benson v. O'Brian, 179 F.3d 1014 (6th Cir. 1999);
Tingler v. Marshall, 116 F.2d 1109, 1112 (6th Cir. 1983). There is

an exception to this general rule, however, that permits a district

 

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The docket to plaintiff's final bankruptcy petition, Case No. 04-
38972, which was filed December 8, 2004, clarifies the status of the property.
CitiFinancial, through counsel, filed a motion on January 25, 2005, entitled
“Expedited Motion to Dismiss Debtor’s Chapter 13 Case with Prejudice and in gem
as to Movant and Request for Sanctions,” which stated, in pertinent part, that

[t]he foreclosure sale was held on October 8, 2004. The eleventh
(llth) case, Case Number 04-34225, was filed on September 13, 2004,
but was voluntarily dismissed by Debtor on September 28, 2004 after
Movant filed a Motion to Dismiss with Prejudice. The twelfth (thh)
case, Case No. 04-39872, was filed on December 7, 2004 in direct
violation of the Order [issued on October 1, 2004]. A Judgment for
Possession of the Property was granted by the General Sessions Court
of Shelby County on or about November 29, 2004; however, Movant has
been unable to proceed with eviction due to this most recent bad
faith filing by Debtor.

Plaintiff attempted to voluntarily dismiss that bankruptcy petition on February
18, 2005, but his document was returned to him for lack of a signature. A hearing
was held on March 15, 2005 and the bankruptcy court in case no. 04-389?2, who is
not a party to this action, issued an order on March 24, 2005 granting the motion
to dismiss with prejudice. That order (i) provided “[t]he debt owed to every
creditor listed in debtor's schedules is non-dischargeable in the present case
and in any future bankruptcy case”; (ii) barred the plaintiff barred for three
years from invoking the protection of the automatic stay under ll U.S.C. § 101
et seg. as amended; and (iii) authorized Movant to proceed with all remedies to
obtain possession of the premises at 6894 Rockbrook if plaintiff has not vacated
the property by April 13, 2005. Plaintiff filed a notice of appeal, and that
appeal, case no. 04-2299-B/V (W.D. Tenn. filed Apr. 22, 2005), is pending before
another district judge. Plaintiff filed a motion in the bankruptcy court seeking
to stay the Court's order pending the disposition of his appeal, and the
bankruptcy court, after a hearing, issued an order on May 5, 2005 denying a stay.

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court to dismiss a complaint “for lack of subject matter
jurisdiction pursuant to Rule 12(b)(l) of the Federal Rules of
Civil Procedure when the allegations of a complaint are totally
implausible, attenuated, unsubstantial, frivolous, devoid ofinerit,
or no longer open to discussion.” Apple, 183 F.3d at 478 (citing
Hagans v. Lavine, 415 U.S. 528, 536-37 (1974)). Applying this
standard, plaintiff's complaint is subject to dismissal in its
entirety.

First, the complaint contains no factual allegations
about defendant Crye-Leike, and the Court has not discovered any
reference to Crye-Leike in the various bankruptcy court
proceedings. When a plaintiff completely fails to allege any action
by a defendant, it necessarily “appears beyond doubt that the
plaintiff can prove no set of facts which would entitle him to
relief.” Spruvtte v. Walters, 753 F.2d 498, 500 (6th Cir. 1985).

Second, the plaintiff cannot sue defendants CitiFinancial
and Crye-Leike under 42 U.S.C. § 1983, which encompasses violations
of the federal Constitution or federal law by individuals acting
under color of state law. Lugar v. Edmonson Oil Co. lnc., 457 U.S.
922, 924 (1982); Flagg Bros. lnc. v. Brooks, 436 U.S. 149, 155
(1978); Wagner v. Metro. Nashville Airport Auth., 772 F.2d 227, 229
(6th Cir. 1985). “A § 1983 plaintiff may not sue purely private
parties.” Brotherton v. Cleveland, 173 F.3d 552, 567 (6th Cir.

1999). Thus, “[i]n order to be subject to suit under § 1983,

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defendant’s actions must be fairly attributable to the state.”
Collver v. Darling, 98 F.3d 211, 231-32 (6th Cir. 1997). The
complaint provides no basis for state action in the conduct of
these private corporations.

Third, plaintiff cannot sue defendant Kennedy, a U.S.
Bankruptcy Judge, and defendant Emerson, a bankruptcy trustee
appointed by the bankruptcy court, under § 1983 because these
federal officials act under color of federal law. Franklin v.
Henderson, No. 00-4611, 2000 WL 861697, at *1 (6th Cir. June 20,
2001) (“The federal government and its officials are not subject to
suit under 42 U.S.C. § 1983.”); Habtemariam v. Adrian, No. 98-3112,
1999 WL 455326, at *2 (6th Cir. June 23, 1999); Johnson v. lonia
United States Postal Serv., Nos. 90-1078, 90-1313, 1990 WL 115930r
at *1 (6th Cir. Aug. 10, 1990); Walber v. United States Dep’t of
Housing & Urban Dev., No. 88-1984, 1990 WL 19665, at *2 (6th Cir.
Mar. 5, 1990).

Even if the Court were to construe the claims against
Kennedy and Emerson as arising under Bivens v. Six Unknown Fed.
Narcotics Agents, 403 U.S. 388 (1971), the complaint would still be
subject to dismissal. To the extent plaintiff seeks to sue Judge
Kennedy in his individual capacity, his claim is barred by absolute
judicial immunity. See Mireles v. Waco, 502 U.S. 9, 12 (1991);
Stump v. Sparkman, 435 U.S. 349, 359-60 (1978); §i§r§gp_y¢_§ay, 386

U.S. 547, 553-54 (1967); DePiero v. Citv of Macedonia, 180 F.3d

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770, 783-84 (6th Cir. 1999); Barnes v. Winchell, 105 F.3d 1111,
1115 (6th Cir. 1997); King v. Love, 766 F.2d 962, 965 (6th Cir.
1985).

To the extent plaintiff seeks to sue Judge Kennedy in his
official capacity, his clainl is actually asserted. against the
United States and is barred by sovereign immunity. FDIC v. Meyer,
510 U.S. 471, 483-86 (1994); see also Shaner v. United States, 976
F.2d 990, 994 (6th Cir. 1992) (Bivens actions may not be brought
against the United States); Ecclesiastical Order of the Ism of Am,
lnc. v. Chasin, 845 F.2d 113, 115-16 (6th Cir. 1988) (per curiam).
The doctrine of sovereign immunity also bars Bivens actions for
declaratory and injunctive relief. Wolverton v. United States, No.
96-5224, 1997 WL 85153, at *4 (6th Cir. Feb. 26, 1997) (per
curiam); United States v. Rural Elec. Convenience Coop. Co., 922
F.Zd 429, 434 (7th Cir. 1991).3

Moreover, “[i]t is well settled that leave of the
appointing forum must be obtained by any party wishing to institute
an action in a non-appointing forum against a [bankruptcy] trustee,
for acts done in the trustee's official capacity and within the
trustee's authority as an officer of the court.” ln_re_QeLQrean

Motor Co., 991 F.2d 1236, 1240 (6th Cir. 1993). The plaintiff

 

3 This Court has jurisdiction to consider plaintiff’s request for
injunctive relief only on appeal pursuant to 28 U.S.C. § 158(a). Plaintiff has
not appealed any of the actions taken in bankruptcy case no. 04-31227.

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plainly did not seek leave of the bankruptcy court before
instituting this action against Emerson.4

For all the foregoing reasons, the Court DISMISSES this
action in its entirety, pursuant to Fed. R. Civ. P. 12(b)(1) and
12(h)(3), for lack of subject-matter jurisdiction.

The final issue to be addressed is whether the plaintiff
should.be allowed to appeal this decision ip_fpppp pauperis, should
he choose to do so. Pursuant to the Federal Rules of Appellate
Procedure, a non-prisoner desiring to proceed on appeal pp fp;ma
pauperis must seek pauper status under Fed. R. App. P. 24(a). §pp
Callihan v. Schneider, 178 F.3d 800, 803-04 (6th Cir. 1999).
However, Rule 24(a)(3) provides that if a party was permitted to
proceed pp fp;m§ pauperis in the district court, he may also
proceed on appeal pp fppma pauperis without further authorization
unless the district court “certifies that the appeal is not taken
in good faith or finds that the party is not otherwise entitled to
proceed lp fp;pa pauperis.” If the district court denies pauper
status, the party may file a motion to proceed pp fp;ma pauperis,
along with a supporting affidavit, in the Court of Appeals. Fed. R.

App. P. 24(a)(4)-(5).

 

‘ Although not pertinent to the issue of subject-matter jurisdiction,
the Court notes that this action appears to be entirely lacking in substantive
merit. The gravamen of the plaintiff's complaint is that the bankruptcy court
order at issue was entered without a hearing. §§ supra p. 2. The bankruptcy court
order states, howeverr that plaintiff did not appear for the hearing scheduled
for September 30, 2004.

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The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldp lt would be
inconsistent for a district court to determine that a complaint
does not warrant service on the defendants, yet has sufficient
merit to support an appeal pp fp;ma pauperis. ppg Williams v.
Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983). The same
considerations that lead the Court to dismiss the complaint for
lack of subject-matter jurisdiction also compel the conclusion that
an appeal would not be taken in good faith.

lt is therefore CERTlFlED, pursuant to Fed. R. App. P.
24(a), that any appeal in this matter by the plaintiff is not taken
in good faith. Leave to proceed on appeal ip fp;ma ppppepi§ is,
therefore, DENIED. Accordingly, if plaintiff files a notice of
appeal, he must pay the $255 appellate filing fee in full or file
a motion to proceed.;p fp;ma pgppp;;§ in the United States Court of
Appeals for the Sixth Circuit within thirty (30) days.

it is so oRDERED this [[*“ day cf May, 2005.

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b NICE s. boNALD
U ITED sTATEs oIsTR:cT JUDGE

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DIS,ITRCT COURT - WESTRNE DISCTRIT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-02832 Was distributed by fax, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

Kavin M. Carter
6894 Rockbrook Drive
l\/lemphis7 TN 38141

Honorable Bernice Donald
US DISTRICT COURT

